Case 1:18-po-00006-MSN Document 1 Filed 01/03/18 Page 1 of 1 PageID# 1




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                                                                       Officer Name(Print) •' * '' ••   Oflicer^a.'

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                       \ promise (o appear lor the hearingat the limeand place cnslructcd or pay the totaJcoUateral duo

                       X Defendant Signature

                        (Rev. 09/2'615)" •                 ^E>cfendanl Copy For Your Records (Yellow)
